SO ORDERED.

SIGNED this 18th day of June, 2020.




 ________________________________________________________________________


                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

 IN RE:                                )
                                       )
       PARIS EDWARD THOMAS LOYLE       )                          Case No.       19-10065
       KATHERINE CHRISTINE LOYLE,      )                          Chapter        7
                                       )
                          Debtors.     )
                                       )
 PARIS EDWARD THOMAS LOYLE AND         )
 KATHERINE CHRISTINE LOYLE,            )
                  Plaintiffs           )
                                       )
 vs.                                   )
                                       )
 UNITED STATES DEPARTMENT OF           )
                                                                  Adv. Proc. No. 20-5073
 EDUCATION, NAVIENT SOLUTIONS LLC,     )
 EDUCATIONAL COMPUTER SYSTEMS, INC,    )
 R3 EDUCATION INC, FIRSTMARK SERVICES, )
 CITIZENS ONE, TAB BANK, and AMERICAN  )
 EDUCATION SERVICES                    )
                  Defendants.          )
                                       )
                                       )

                            ORDER OF DEFAULT JUDGMENT

This matter comes before the Court on the request of Plaintiffs for a default judgment against

Defendants Firstmark Services, Citizens One, and TAB Bank. The Plaintiffs appear by and




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United States Bankruptcy Court for the District of Kansas
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through their attorney, January M. Bailey. Based upon the Motion and the record herein, the

Court orders that:

           1. Excepting from discharge the debts owed to Defendants Firstmark Services, Citizens

                One, and TAB Bank would impose an undue hardship upon the Plaintiffs/Debtors;

           2. The parties Firstmark Services, Citizens One, and TAB Bank were properly served

                and did not file a timely Answer;

           3. All debt owed to Defendant TAB Bank is included in the discharge received by the

                Plaintiffs on April 22, 2019 (doc. #25 in the main case);

           4. All debt owed to Defendant Firstmark Services and guaranteed by Defendant Citizens

                One is included in the discharge received by the Plaintiff on April 22, 2019 (doc. #25

                in the main case).

                                                        IT IS SO ORDERED

                                                              ###


 Respectfully Submitted:
 ERON LAW, P.A.
 Attorney for Plaintiffs

     s/ January M. Bailey
 January M. Bailey, #23926
 301 N Main, Ste 2000
 Wichita, KS 67202
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 january@eronlaw.net




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                                               United States Bankruptcy Court
                                                    District of Kansas
Loyle,
              Plaintiff                                                                           Adv. Proc. No. 20-05073-REN
United States Department of Education,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 1083-6                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 18, 2020
                                      Form ID: pdf020ap                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 20, 2020.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion20.wi.ecf@usdoj.gov Jun 18 2020 21:58:50     U.S. Trustee,
                 Office of the United States Trustee,   301 North Main Suite 1150,   Wichita, KS 67202-4811
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 20, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2020 at the address(es) listed below:
              Brian D Sheern    on behalf of Defendant    United States Department of Education
               brian.sheern@usdoj.gov, michelle.lies@usdoj.gov;debra.austin2@usdoj.gov;CaseView.ECF@usdoj.gov
              David Alan Gellis    on behalf of Defendant    Navient Solutions LLC dgellis@mslawkc.com,
               ccariani@mslawkc.com
              January M Bailey    on behalf of Plaintiff Katherine Christine Loyle
               notices2@eronlaw.net;cmecf@eronlaw.net
              January M Bailey    on behalf of Plaintiff Paris Edward Thomas Loyle
               notices2@eronlaw.net;cmecf@eronlaw.net
                                                                                              TOTAL: 4




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